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JAMEs CLARK, ‘;'§-;_"'; y wi;j DE,S,T,E.TS
Plaintiff,
v. No. 03-2977 B/An

J. KENENS and G. STUBBS,

Defendants.

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REPORT AND RECOMMENDATION

 

Bet`ore the Court is Defendant Gerald Stubbs’ (“Stubbs”) Motion to Dismiss Due to
Plaintift"s Failure to Cooperate in the Discovery Process filed on February 16, 2005. United
States District Judge J. Daniel Breen referred this matter to the Magistrate Judge for a report and
recommendation F or the reasons set forth below, it is recommended that the Motion should be
GRANTED.

Stubbs filed this Motion pursuant to Rules 37(b)(2) and 4l(b) of the Federal Rules of
Civil Procedure asking the Court to dismiss Plaintiff’s cause of action due to Plaintiff’s failure to
cooperate in the discovery process. Stubbs served Plaintiff With discovery requests on May l9,
2004; however, Plaintiff has not responded to these requests. Stubbs filed a Motion to Dismiss
for Plaintiff`s Failure to Cooperate in the Disoovery Process on September 13, 2004, but the
undersigned recommended that the first motion to dismiss should be denied.. Judge Breen later
adopted the initial report and recommendation, and Plaintiff Was given 15 days to provide written

responses to Stubbs’ discovery requests and 15 days to appear for a deposition

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Plaintiff did not file his responses within 15 days from entry of the adoption of the report
and recommendation, and Plaintiff did not appear for his deposition; therefore, Stubbs filed the
instant Motion to Dismiss. Initially, the Court reviewed the docket report and entered a report
and recommendation on March 17, 2005 noting that the Clerk’s office was forwarding all Court
correspondence and Orders to Plaintiff’s old mailing address. The Court, therefore, instructed
the Clerk’s office to forward copies of relevant Orders to Plaintiff at his updated mailing address
at 203 Cottonwood St., Wynne, AR 72396.

Upon review, the Court notes that the mail sent to Plaintiff’s updated mailing address in
Arkansas was returned to the Court as undeliverable on April 11, 2005. As such, because
Plaintiff has not informed the Court of his change in address and because Plaintiff has not
cooperated in the discovery process, the Court recommends that Plaintiff’s Motion to Dismiss for
failure to cooperate in the discovery process should be GRANTED.

ANY OBJECTIONS OR EXCEPTIONS-TO THIS REPORT MUST BE FILED WITHIN
TEN (10) DAYS FROM THE DATE OF SERVICE OF THE REPORT. FAILURE TO FILE
THEM WITHIN TEN (10) DAYS OF SERVICE MAY CONSTITUTE A WAIVER OF

OBJECTIONS, EXCEPTIONS, AND FURTHER APPEAL.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

Date: M/f? //I, ZCQL/

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:03-CV-02977 was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

